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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 THOMAS DEXTER JAKES,

                             Plaintiff,
       v.

 DUANE YOUNGBLOOD;

 JOHN DOE 1;

 JOHN DOE 2;

 JOHN DOE 3;

 JOHN DOE 4;                                           Civil Action No. ___________
                                                                        2:24-cv-1608

 JOHN DOE 5;                                            JURY TRIAL DEMANDED

 JOHN DOE 6;

 JOHN DOE 7;

 JOHN DOE 8;

 JOHN DOE 9; AND,

 JOHN DOE 10

                             Defendants.


                                          COMPLAINT

      Plaintiff Bishop Thomas Dexter (“T.D.”) Jakes, for his complaint against Defendant Duane

Youngblood and DOES 1-10, alleges as follows:

                               NATURE OF THE ACTION

      1.       This lawsuit sounds in the tort of defamation and civil conspiracy to commit

defamation.
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        2.     The underlying story in this case depicts a carefully planned effort by a convicted

criminal, and those acting in concert with him, to rewrite history in order to deflect blame and

accountability for his own reprehensible and criminal conduct and to publicly smear a renowned

and eminently respected religious leader in a blatant and explicit attempt to extort him for millions

of dollars.

        3.     This lawsuit is intended to bring that scheme to a halt, to end the extreme emotional,

physical, and spiritual toll Defendants’ conduct has caused Bishop Jakes, to set the record straight

so the world understands the patent falsity of the accusations, and to restore Bishop Jakes’s

reputation.

                                            PARTIES

        4.     Plaintiff Bishop T.D. Jakes is a world-renowned spiritual leader, global

philanthropist, author, film and music producer, and the founder of The Potter’s House Church in

Dallas, TX. He is a U.S. citizen and resident of Dallas, TX.

        5.     Defendant Duane Youngblood is a registered sex offender in the state of

Pennsylvania and a two-time convicted felon related to sexual abuse of children. He is a U.S.

citizen and a resident of Pittsburgh, PA.

        6.     On information and belief, Plaintiff alleges that Defendants DOES 1 through 10,

inclusive, are other parties not yet identified who have acted in concert and agreement with

Youngblood in order to commit defamatory conduct against Plaintiff and have committed acts in

furtherance of such wrongdoing. The true names, whether corporate, individual or otherwise, of

DOES 1 through 10, inclusive, are presently not fully known to Plaintiff, which therefore sues said

Defendants by such fictitious names, and will seek leave to amend this Complaint to show their

true names and capacities when same have been ascertained.



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       7.      On information and belief, Plaintiff alleges that at all times relevant hereto each of

the Defendants acted in concert and agreement with each other for the objective of intentionally

committing defamatory acts against Plaintiff, with full knowledge of all the facts and

circumstances, including but not limited to, full knowledge of the violative conduct at issue and

the damages to Plaintiff caused thereby.

                                   JURISDICTION & VENUE

       8.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C

§1332 because there is complete diversity of citizenship among the parties, and the amount in

controversy exceeds $75,000.00, excluding interest.

       9.      This Court has personal jurisdiction over Defendant Duane Youngblood because

he is a citizen of the Commonwealth of Pennsylvania and resides in Allegheny County.

       10.     Venue is proper in this District because Defendant resides in this District,

Defendant is subject to personal jurisdiction in this District, and because a substantial part of the

events or omissions giving rise to Plaintiff’s claims occurred in this District.

                                  FACTUAL ALLEGATIONS

   Bishop T.D. Jakes Becomes One of the Most Prominent and Respected Pastors in the
   United States, and Establishes One of the Largest Churches in the United States—The
                                  Potter’s House of Dallas

       11.     Bishop Jakes is the visionary, charismatic, and devoted senior pastor of The Potter’s

House church in Dallas, Texas, which has a global outreach and congregation exceeding 80,000

persons, a motivational speaker, an entrepreneur, a best-selling author of 30 books, a producer of

faith-focused music and films, a Grammy award winner, a global humanitarian, and one of the

most prominent and well-respected pastors and religious figures in the United States today. In

2009, for example, Bishop Jakes was selected to give the sermon at St. John’s Episcopal Church,

dubbed “the church of the presidents”, across Pennsylvania Avenue from the White House, on the

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morning of President Obama’s inauguration ceremony.

       12.     From his humble roots as the pastor for the 10-member storefront church Greater

Emanuel Temple of Faith in Smithers, West Virginia in the early 1980s to leading the now-more-

than-30,000-member Potter’s House Church based in Dallas, Texas he founded in 1996, Bishop

Jakes has devoted his life to guiding others towards spiritual prosperity. He has inspired millions

all over the world to live purposeful and spiritual lives, and the initiatives he and his organization

have developed over the years have helped millions all over the globe.

       13.     For his countless contributions all over the world, Bishop Jakes has been honored

and recognized by some of the most influential global organizations and media outlets. He has

been called “America’s Best Preacher” by CNN and Time, “perhaps the most influential black

leader in America today” by The Atlantic, and regularly appears on lists of the most respected and

influential leaders in America. He has been a spiritual advisor for the last three presidents. He is

the recipient of numerous prestigious awards, including the NAACP Image Award in 2011.

       14.     Bishop Jakes has been married to his wife Serita for over 35 years and is a loving

husband, father, and grandfather. Throughout his more than forty years in the ministry, Bishop

Jakes has maintained a stellar reputation for his faith, morals, ethics, and above all devotion to his

family and the local and global communities he has built all over the world.

   Defendant Duane Youngblood Is Convicted On Multiple Occasions For Sex Offenses
                                 Involving Minors

       15.     In stark contrast, Duane Youngblood is registered as a lifetime sex offender in the

State of Pennsylvania and is currently under supervision by the state’s Department of Parole with

Parole number 590JF. Youngblood has repeatedly and uncontrollably sexually assaulted young

children since at least 2002. On all occasions, Youngblood has pleaded guilty and admitted to his

heinous crimes.


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       16.      In 2006, at the time pastor of a church in Homestead, Youngblood was first arrested

on charges of sexual assault and corruption of minors and other charges. In that case, he was

accused of sexually assaulting a 15-year-old in 2002 while counseling the boy. The teen sought

counseling from Youngblood because a cousin had molested him, according to a police affidavit.

       17.      As part of a plea deal, Youngblood was sentenced to a year of house arrest and

seven years of probation. Part of the plea deal prohibited Youngblood from counseling children.

       18.      Despite this conviction, Youngblood was unsatisfied. In 2014 Youngblood was

charged with inappropriately touching two teen victims, in one instance on about 25 occasions

while he was counseling the youth between 2009 and 2011. With respect to that victim, counseling

sessions in Youngblood’s church office began when the victim was 16 years old and ended when

the victim was 18 at which point the victim told Youngblood he no longer wanted to participate in

counseling, according to the criminal complaint. In another, Youngblood had sexual relations with

a youth over a three-week period. Youngblood pleaded guilty and was sentenced to 16 to 48

months in prison in 2015 and three years of probation.

       19.      Nevertheless, while on parole, Youngblood conspires with others to harm and profit

from attacks on prominent black religious figures, including Bishop Jakes, as more fully elaborated

herein below.

 Youngblood Uses The Reach Of Larry Reid Live To Publicly Blame His Own Abhorrent
 And Horrific Sexual Abuse Of Minors On Others, Including Bishop Jakes, By Accusing
      Them Of Grooming, Molesting, And Sexually Assaulting Him Decades Ago

       20.      On October 28, 2024, Youngblood sat for an over-two-hour-long interview on

Larry Reid Live (LRL), an online video podcast hosted by Larry Reid that boasts of having over

150,000 subscribers on YouTube alone. The October 28 episode of LRL was broadcast live to

tens of thousands of online viewers on the Larry Reid Live YouTube and Facebook accounts. The

episode was titled, “Larry Reid Live INTERVIEWS Duane Youngblood: ‘The Abused become
                                                 5
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the Abuser.’”1

       21.       Youngblood began his interview by misleading viewers about the circumstances of

his convictions and incarcerations. Youngblood lied to LRL’s viewers about the circumstances of

his 2015 conviction, claiming it was only because he was communicating with minors when he

was not allowed to. The actual truth, which Youngblood concealed from the LRL audience, was

that he violated his parole not because he had simply communicated with minors when he was not

allowed to, but rather because he had been caught inappropriately touching two teen victims during

counseling session between 2009 and 2011, and of engaging in sexual abuse over a three-week

period with a teenage victim.

       22.       The interview later turned to Youngblood’s new claim about how the source of his

becoming an abuser was his own “abuse” at the hands of pastors and religious figures he

encountered in his youth. After detailing instances of his own father sexually abusing his sister

and of his abuse at the hands of other church leaders, Youngblood turned his ire on Bishop Jakes.

       23.       From the moment Youngblood brought up his allegations about Bishop Jakes

roughly an hour into the interview, he and Mr. Reid spent almost the entirety of the rest of the

interview on Bishop Jakes and Youngblood’s claim that Bishop Jakes tried to groom and sexually

abuse him.

       24.       Youngblood’s story about Bishop Jakes on the October 28 episode of LRL was that

when the now 58-year-old Youngblood was “18 or 19 years of age,” Bishop Jakes, after talking to

Youngblood for two hours at the home of an elder clergy woman where Bishop Jakes was staying




1
  Larry Reid Live, 10.28.24 - Larry Reid Live INTERVIEWS Duane Youngblood: “The Abused
become the Abuser” (“October 28 LRL Episode”), YouTube (Oct. 28, 2024),
https://www.youtube.com/watch?v=DN2Q5hWyeI0.
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while supporting a local church’s revival program, wrapped his arms around Youngblood and tried

to kiss him:

                After sitting there and having this long discourse with him, I finally
                looked at my watch and I'm like, “oh my goodness, I got to go. I got
                to get this car back to my mother. She's gonna kill me.” So I said to
                Bishop, “I got to get up.” And I got up from the table, he got up
                from the table, he walked around toward the, uh, way I had to exit
                quicker than I got over there, and when I started to walk past him,
                he pulled me to himself, wrapped his arms around me, and tried to
                kiss me. And in that moment I literally died.

          25.   Next, according to Youngblood, Bishop Jakes called Youngblood the following

morning:

                In the morning, I step into our bathroom and my home phone rings.
                My mother answers the phone and she says to me, “Duane, it’s Elder
                Jakes.” Jakes and I get on that phone and when I get on that
                telephone, I can hear water. He is sitting in a bathtub and in that
                thing he says to me, without any hesitation, “there's three things I
                need you to do. The first one is, when I come to Pittsburgh you're
                going to be the only person I sleep with. The second one is you can't
                sleep with anybody else because I don't want to give my wife
                anything. And thirdly, I will take care of you the rest of your life.

          26.   Youngblood then went on to describe how he did not tell his mother what happened,

but that she made him go to church services that night, where Bishop Jakes not only preached, but

called up Youngblood to the pulpit to “read” for him. Youngblood ended his story by claiming

that “there is so much more to me and Bishop Jakes and my family and Bishop Jakes and the

absolute destructive sexual damage, but this thing was so so extremely damaging.”2

          27.   Later on in the October 28 LRL episode, Youngblood described an encounter with

Bishop Jakes where, years later, he had to drive Bishop Jakes and his wife to a hotel after a

conference. According to Youngblood, he accompanied Bishop Jakes and his wife back to the

hotel room, and after Mrs. Jakes went to sleep, Youngblood confronted Bishop Jakes and asked


2
    Id.
                                                  7
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him, “Why did you do what you did?” To which Bishop Jakes responded, “My stock was rising,

and I would have had sex with anybody at that time.”3

       28.     Less than a week later, on November 3, 2024, Youngblood returned to LRL for “Pt.

2 - Larry Reid Live INTERVIEWS Duane Youngblood: ‘The Abused became The Abuser.’”4 In

part 2, Youngblood doubled down on the same false story, and this time he made sure that all of

the LRL viewers knew that he was not just accusing Bishop Jakes of trying to begin a sexual

relationship with him, but rather that his story was one of sexual abuse. When pressed by Reid to

further describe how his allegation that “Bishop Jakes violated, groomed” him was “predatory” in

nature, Youngblood made it clear that he was accusing Bishop Jakes of attempted sexual assault:

               When it comes to Bishop Jakes. When I was sharing the story the
               other day this, I, I'm just running through the story, but I want to
               make sure people are very clear. I said that we were sitting at a
               dining room table and I looked at my watch and said I've got to get
               up and get out of here because I've got to get my mother's car back
               to her. But what may have been misunderstood is that Bishop
               Jakes got up, came around that table, and positioned himself in
               the corner that I had to walk past. When I was walking past that
               corner, he grabbed me. There is no reason if you're going to just
               give me a hug as we're leaving, go to the door with me and let's hug
               it out and let me go out the door. We are not at the door, we are still
               in the dining room, and he is in the corner, grabbed me to himself,
               looked down into my face, and then tried to bend his head down to
               kiss me on my lips. That is not a “you didn't get what you wanted
               to get.”5

       29.     Youngblood then doubled down and described again the phone call he claimed he

had with Bishop Jakes, just as he did in the October 28 interview, stating in no uncertain terms that

to him, “that is absolutely forcing your position, your idea onto that person.”6


3
  Id.
4
  Larry Reid Live, 11.3.24 - Pt. 2 - Larry Reid Live INTERVIEWS Duane Youngblood: “The
Abused became The Abuser” (“November 3 LRL Episode”), YouTube (Nov. 3, 2024),
https://www.youtube.com/watch?v=6ybOqnFB-UQ
5
  Id.
6
  Id.
                                                 8
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          30.   In part 2, Mr. Reid also makes clear exactly what Youngblood was accusing Bishop

Jakes of doing, stating at the 39-minute mark that “Bishop Jakes violated, groomed you.” And

Youngblood doubled down on his claim that Bishop Jakes “did this” to Youngblood “because his

stock was rising and he would have slept with anybody.”7

          31.   For his part, Reid went to great lengths to try and bolster Youngblood’s credibility,

claiming in part 2 that Youngblood feels “honest” to Reid, that “it doesn’t feel that you’re mad,

you don’t seem mad at all, and you don’t feel like you’re trying to get anybody back. You just

telling the story”—to which Youngblood nods and agrees throughout.8 Youngblood’s intent and

motive for making these allegations would be made absolutely clear with his exorbitant financial

demand weeks later, as more fully elaborated herein below.

    Youngblood’s Accusations On Larry Reid Live About Bishop Jakes Are False—And He
                              Knew It When He Made Them

          32.   From start to finish, Youngblood’s tale of grooming and attempted sexual assault

at the hands of Bishop Jakes is patently false. Bishop Jakes never kissed or tried to kiss

Youngblood, never cornered him or forced him into any situation (sexual or otherwise), and

certainly never told him that he wanted to sleep with him or had any conversation of a sexual

nature at all with him. The interactions described by Youngblood during his LRL interviews on

October 28 and November 3 never happened—period.

          33.   Indeed, the very context and nature of Youngblood’s accusation render them

unbelievable. Youngblood, having served years for molesting and sexually assaulting minors that

he himself was supposed to counsel and mentor through his church, is a desperate attempt to

rehabilitate his image and build a new ministry for himself. His playbook is clear: accuse what



7
    Id.
8
    Id.
                                                  9
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seems to be every other prominent church leader he has ever met of grooming and preying on him,

and then blame them for his own criminal predatory conduct after he has been finally released

from prison as a two-time convicted felon and lifetime registered sex offender. Indeed, his blatant

lies to LRL’s viewers about the circumstances of his own convictions and incarcerations are proof

that this is all just one big lie to try and rewrite history for his own personal gain.

Youngblood’s October 28 And November 3 Appearances Falsely Targeting And Attacking
                              Bishop Jakes Go Viral

        34.     Just as Youngblood hoped, his October 28 and November 3 appearances went viral.

Part 1 has over 120,000 views, making it one of the most viewed LRL episodes in history—even

though it has been posted for less than a month. And part 2 has garnered over 25,000 views since

it was posted on November 3. Moreover, clips featuring Youngblood’s false story about Bishop

Jakes posted to the Larry Reid Live YouTube account attracted tens of thousands more views.9

        35.     The LRL interviews were also posted to other Larry Reid Live social media

accounts, including Facebook, Instagram, and TikTok (where they garnered hundreds of thousands

of additional views),10 as well as to Larry Reid’s website, larryreidlive.com, where they tallied

even more views.

        36.     The spread of Youngblood’s false allegations, as expected, did not stop with just

Larry Reid’s social media and online platforms. Predictably and foreseeably, Youngblood’s story

went viral, being republished, reposted, and commented on by numerous other social media users

and influencers.    For example, Newsbreak, which boasts over 26 million monthly readers,




9
  Larry Reid Live, Duane Youngblood tells Larry Reid Live about his teenage experience with TD
Jakes a, YouTube (Nov. 2, 2024), https://www.youtube.com/watch?v=L8Zml3McEjk; Larry Reid
Live, Larry Reid Live: Duane Youngblood recalls Bishop Quandra Wilson Bishop Jakes Bishop
Sherman Watkins, YouTube (Nov. 3, 2024).
10
   See, e.g., https://www.tiktok.com/@larryreidlive/video/7431051818370698538?lang=en.
                                                   10
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published at least five separate stories on Youngblood’s accusations against Bishop Jakes.11 And

Youngblood’s false accusations were republished by other YouTubers and TikTok influencers to

hundreds of thousands of additional viewers.12

         37.    All told, it’s likely that over a million people have been exposed to Youngblood’s

lies about Bishop Jakes.

     Youngblood Retains An Attorney With A History Of Filing Frivolous Lawsuits Against
     Prominent Black Celebrities, And Proceeds To Try And Extort Millions From Bishop
                                           Jakes

         38.    Incredibly, the Defendants’ malicious efforts to smear Bishop Jakes’ reputation was

only part of the plan—prototypically, of course, their motivation was also deeply rooted in

immediate financial gain. Days after the second podcast, on information and belief, the Defendants

retained a lawyer in New York to represent Youngblood in a blatant attempt at a “money grab.”

         39.    By letter dated November 15, 2024, a lawyer purporting to represent Youngblood

demanded that Bishop Jakes pay Youngblood six million dollars in order to “resolve this matter


11
   See Jae Infinity, When Faith Leaders Fall: Examining the Accusations Against T.D. Jakes,
NewsBreak (Nov. 9, 2024), https://www.newsbreak.com/news/3667614859776-when-faith-
leaders-fall-examining-the-accusations-against-td-jakes; Virginia Blue, Duane Youngblood shares
his allegations against Bishop TD Jakes and other spiritual fathers, NewsBreak (Nov. 6, 2024),
https://www.newsbreak.com/virginia-s-blue-ridge-voice-1594046/3661493944039-duane-
youngblood-shares-his-allegations-against-bishop-td-jakes-and-othe-spiritual-fathers;
Jae Infinity, BREAKING NEWS: Sexual assault allegations against TD Jakes exposed!, NewBreak
(Nov. 8, 2024), https://www.newsbreak.com/news/3665999547833-sexual-assault-allegations-
against-t-d-jakes-exposed-by-accuser-duane-youngblood-youngblood-claims-he-was-18-at-the-
time; Jae Infinity, Former Bishop Duane Youngblood Opens Up About Alleged Encounter with
Bishop T.D. Jakes, NewsBreak (Nov. 8, 2024), https://www.newsbreak.com/the-world-around-
jae-and-beyond-1604689/3666252675013-former-bishop-duane-youngblood-opens-up-about-
alleged-encounter-with-bishop-t-d-jakes; Jae Infinity, Bishops Accused: Youngblood's Shocking
Allegations     of     Grooming    and     Trips,     NewsBreak           (Nov.    10,   2024),
https://www.newsbreak.com/news/3666335984596-bishops-accused-youngblood-s-shocking-
allegations-of-grooming-and-trips.
12
        See,       e.g.,    @monicajohnsonspic,          TikTok       (Oct.      29,     2024),
https://www.tiktok.com/@monicajohnsonspic/video/7431365515353820458?lang=en;
@icedrick3,                 TikTok                 (Oct.                31,              2024),
https://www.tiktok.com/@icedrick3/video/7431978582877932843.
                                                 11
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quickly and privately”; otherwise, Youngblood would bring a lawsuit against Bishop Jakes for

sexual assault and harassment.

       40.     The motivation of the “demand” was clear: pay millions of dollars; otherwise, the

podcast strategy and other similar tactics of attempting to publicly harass and shame Bishop Jakes

would continue.

       41.     Fundamentally, federal criminal law punishes blackmail. Anyone who either

demands or receives money, or any other valuable thing, under the threat of informing, or as a

consideration for not informing, against any violation of U.S. law under 18 U.S.C. §873 is

committing a crime.

       42.     Further, both the Commonwealth of Pennsylvania (18 Pa. C.S. §3923) and federal

criminal law (18 U.S.C. §13) punish attempted extortion, such as the “money grab,” which is no

different than an old-fashion robbery attempt.

       43.     Here, the selection of the attorney was part of the scheme because Youngblood

needed to obtain counsel who was either familiar with or experienced in tactics to bring sexual

assault claims decades old that have no merit and/or have no relief under the law. For example,

the same attorney commenced an action in California against the rapper T.I. and his wife Tinny

Harris, accusing them of sexually assaulting a woman in 2005. In August 2024, U.S. District Court

Judge Sherilyn Peace Garnett dismissed the lawsuit. The rapper stated that these allegations were

false and were part of the many salacious allegations put forth in order to extort money from them.

       44.     The same proverbial playbook is at work here against Bishop Jakes; however,

Youngblood miscalculated Bishop Jakes’ inclination to fight back.




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           Bishop Jakes Brings This Action To Hold Youngblood Accountable For
              Deliberately Spreading His Manufactured Story Of Sexual Abuse

        45.      Youngblood spread knowingly false accusations about one of the most respected

and prominent religious figures. And he did so for the most morally corrupt reasons: to rehabilitate

his image, explain away his own criminal and horrific sexual conduct, and ultimately to profit

significantly.

        46.      The financial harm Youngblood’s knowingly false accusations have caused Bishop

Jakes are monumental and devastating. Bishop Jakes has been the spiritual rock for millions of

Christians all over the world, particularly in the African American community. Youngblood’s

viral allegations that Bishop Jakes groomed, preyed on, and sexually abused and assaulted him—

then a young minister—have tarnished Bishop Jakes’s reputation. Hundreds of thousands—if not

more—have seen and heard Youngblood’s accusations, and because of the lies Youngblood and

his co-conspirators have told to bolster his credibility, those viewers are likely to believe

Youngblood’s knowingly false story.

        47.      In addition to and even more devastating than the millions of dollars in reputational

harm Youngblood has caused, Youngblood’s lies have put in jeopardy the critical philanthropic

missions Bishop Jakes spearheads, and has likely impaired significantly the benefits that the

recipients of such efforts receive. And Youngblood’s intentional and malicious lies have taken a

substantial emotional and physical toll on Bishop Jakes. On November 24—the day before he

filed this action—Bishop Jakes suffered a medical crisis on stage in the middle of his Sunday

service in front of his entire church.13




13
   See ShaCamree Gowdy, Bishop T.D. Jakes suffers health incident after delivering sermon,
CBS News (Nov. 25, 2024), https://www.cbsnews.com/amp/texas/news/dallas-pastor-bishop-td-
jakes-suffers-medical-emergency-during-sermon/.
                                                  13
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         48.    Bishop Jakes believes with all his heart that actual victims of sexual abuse should

be treated with the utmost respect, kindness, empathy, and sympathy—and that true perpetrators

of such abuse should be held accountable for their actions. But that is not the case here.

Youngblood has used and abused the might of social media and the legal process to revictimize

those he preyed on and harmed and to make knowingly false accusations for his own personal and

financial gain. Men like Youngblood must be held accountable for their abuse of the system and

for setting back those with legitimate and real allegations of sexual abuse.

         49.    Bishop Jakes brings this lawsuit to hold men like Youngblood accountable for their

shameful acts and to set the record straight.

                                 FIRST CLAIM FOR RELIEF

               LIBEL PER SE AGAINST DEFENDANT DUANE YOUNGBLOOD

         50.    Bishop Jakes repeats, realleges, and incorporates the above paragraphs as though

fully set forth herein.

         51.    On October 28, 2024 and November 3, 2024, Youngblood gave a live interview on

the Larry Reid Live show in which he accused Bishop Jakes of grooming him, of sexually

assaulting and abusing him, and over other predatory conduct of a sexual nature. The shows were

titled, “10.28.24 - Larry Reid Live INTERVIEWS Duane Youngblood: ‘The Abused become the

Abuser’” and “11.3.24 - Pt. 2 - Larry Reid Live INTERVIEWS Duane Youngblood: ‘The Abused

become the Abuser’” respectively.

         52.    In addition to general accusations of sexual abuse against Bishop Jakes, the

October 28 Larry Reid Live broadcast also includes the following specific statements by

Youngblood about Bishop Jakes:14



14
     October 28 LRL Episode.
                                                14
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                     After sitting there and having this long discourse with him, I finally looked
                      at my watch and I'm like, “oh my goodness, I got to go. I got to get this car
                      back to my mother. She's gonna kill me.” So I said to Bishop, “I got to get
                      up.” And I got up from the table, he got up from the table, he walked around
                      toward the, uh, way I had to exit quicker than I got over there, and when I
                      started to walk past him, he pulled me to himself, wrapped his arms around
                      me, and tried to kiss me. And in that moment I literally died.

                     Jakes and I get on that phone and when I get on that telephone, I can hear
                      water. He is sitting in a bathtub and in that thing he says to me, without any
                      hesitation, “there's three things I need you to do. The first one is, when I
                      come to Pittsburgh you're going to be the only person I sleep with. The
                      second one is you can't sleep with anybody else because I don't want to give
                      my wife anything. And thirdly, I will take care of you the rest of your life.

                     There is so much more to me and Bishop Jakes and my family and Bishop
                      Jakes and the absolute destructive sexual damage, but this thing was so so
                      extremely damaging.

         53.   And in addition to general accusations of sexual abuse against Bishop Jakes, the

November 3 Larry Reid Live broadcast also includes the following specific statements by

Youngblood about Bishop Jakes: 15

                     When it comes to Bishop Jakes. When I was sharing the story the other day
                      this, I, I'm just running through the story, but I want to make sure people are
                      very clear. I said that we were sitting at a dining room table and I looked at
                      my watch and said I've got to get up and get out of here because I've got to
                      get my mother's car back to her. But what may have been misunderstood is
                      that Bishop Jakes got up, came around that table, and positioned himself in
                      the corner that I had to walk past. When I was walking past that corner, he
                      grabbed me. There is no reason if you're going to just give me a hug as we're
                      leaving, go to the door with me and let's hug it out and let me go out the
                      door. We are not at the door, we are still in the dining room, and he is in the
                      corner, grabbed me to himself, looked down into my face, and then tried to
                      bend his head down to kiss me on my lips. That is not a “you didn't get
                      what you wanted to get.” When I got home that next day, what I learned by
                      Bishop Jakes’s phone call to me was what he thought of me. Because he
                      said there's three things that I need you to do, without hesitation. There's
                      no long build up or nothing. So it tells me that the conversation that I had
                      with him, his observation of me, made him believe that what he was getting
                      ready to share, I would go with it. That means he had thoughts about my
                      sexuality, my identity, all of those things before he even made the
                      suggestion. And so he suggested to me, one, you're gonna be the only person

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     November 3 LRL Episode.
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                        I'm going to have sex with when I come to Pittsburgh, two, you can't sleep
                        with nobody else because I can't give this to my wife, and three, I'm going
                        to take care of you the rest of your life. To me, that is absolutely forcing
                        your position your idea on to the person.

       54.     The full interviews were posted to the Larry Reid Live YouTube and Facebook

accounts, and to the larryreidlive.com website. Clips of the interviews featuring Youngblood’s

accusations of grooming, sexual abuse, sexual assault, and other predatory conduct were also

posted to the Larry Reid Live YouTube, Facebook, TikTok and Instagram accounts. All of these

posts went out to a worldwide audience and were viewed hundreds of thousands of times.

       55.     Youngblood’s statements were of and concerning Bishop Jakes.

       56.     Youngblood’s statements on the October 28 and November 3 episodes of Larry

Reid Live individually and taken as a whole, intended to convey, and were understood by viewers

as conveying, the factual accusations that Bishop Jakes groomed, sexually abused, sexually

assaulted, and engaged in predatory conduct of a sexual nature with Youngblood.

       57.      Youngblood’s statements on the October 28 and November 3 episodes of Larry

Reid Live are false and defamatory.

       58.     Youngblood’s statements on the October 28 and November 3 episodes of Larry

Reid Live are libelous per se in that they expose Bishop Jakes to contempt, ridicule, and obloquy,

tends to affect Bishop Jakes in his profession as a trusted pastor and religious figure, and accuses

Bishop Jakes of engaging in unlawful conduct. Indeed, the accusations that Youngblood has made

about Bishop Jakes are as damaging and damning as anyone can make about a prominent pastor

and spiritual leader.

       59.     By publication of his statements on the October 28 and November 3 episodes of

Larry Reid Live, Youngblood caused harm to Bishop Jakes’s reputation.




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       60.        Youngblood published his statements on the October 28 and November 3 episodes

of Larry Reid Live with actual malice, in that he was aware at the time of publication that the

statement was false or, at a minimum, had a high degree of awareness that the statement was

probably false.

       61.        In addition to knowing his statements were false when he made them—because he

was a first-hand witness to his interactions with Bishop Jakes and knows that he was never

groomed, sexually assaulted, sexually abused, or preyed on in any way by Bishop Jakes—

Youngblood’s statements were also made with a reckless disregard of the truth, for example:

                        Youngblood had financial and other motives to lie, as evidenced by his
                         demand for millions of dollars from Bishop Jakes and his attempt to
                         rehabilitate his image and recast himself as a sexual abuse victim instead of
                         a perpetrator in order to revive his ministry;

                        Youngblood is a convicted felon and sex offender;

                        Youngblood’s claims are inherently improbable, in particular his claims
                         about the follow-up conversations with Bishop Jakes;

                        Youngblood’s false and defamatory statements about Bishop Jakes were
                         made in furtherance of and to fit within the preconceived storyline
                         Youngblood needed in order to rehabilitate his image as a sex offender and
                         felon and to demand and extract millions of dollars from Bishop Jakes;

                        Youngblood was caught red-handed lying about the circumstances of his
                         criminal convictions during his October 28 interview with Larry Reid, and
                         in his demand letter when he changed his story to be that he may have been
                         17 (rather than 18 or 19) at the time of the alleged incident; and

                        Youngblood conspired and coordinated with others to levy these false
                         attacks on Bishop Jakes.

       62.        Youngblood had no applicable privilege or legal authorization to make these false

and defamatory statements, or if he did, he abused it.




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        63.     As a direct and proximate result of the publication of his false and defamatory

statements on the October 28 and November 3 episodes of Larry Reid Live, Bishop Jakes has

suffered substantial injury to his reputation.

        64.     Youngblood’s defamatory statements were accompanied with malice, wantonness,

and a conscious desire to cause injury. Youngblood purposefully made the defamatory statements

heedlessly and with reckless and willful indifference to Bishop Jakes’s rights.

        65.     Bishop Jakes is therefore entitled to actual, presumed, punitive, and other economic

damages in an amount to be specifically determined at trial.

                                SECOND CLAIM FOR RELIEF

                    CIVIL CONSPIRACY AGAINST ALL DEFENDANTS

        66.     Bishop Jakes repeats, realleges, and incorporates the above paragraphs as though

fully set forth herein.

        67.     On information and belief, Youngblood and those acting in concert with him (i.e.,

the co-conspirators) worked together to publish and broadcast the false claim that Bishop Jakes

groomed him and sexually assaulted Youngblood on a podcast reaching over 100k persons

knowing that making such false claims on a podcast that reaches such a broad audience of listeners

would harm Bishop Jakes. To wit, co-conspirator #1 falsely claimed, in sum and substance, during

the podcast that Bishop Jakes had engaged in settlement discussions with Youngblood regarding

his claims.

        68.     On information and belief, this statement by co-conspirator #1 was done

intentionally in order to give credence and a patina of credibility to Youngblood’s false statements,

even though co-conspirator #1 was aware that efforts by Bishop Jakes to pay Youngblood to avoid

him making such statements was knowingly false.



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        69.     The first podcast occurred on October 28, 2024. While Youngblood and his co-

conspirators made false statements to harm Bishop Jakes in that broadcast, on information and

belief, the Defendants aimed to maximize their efforts by launching a second broadcast on

November 3, 2024 meant to sharpen and clarify the false statements for maximum impact. For

example, Youngblood, in sum and substance, attempted to more clearly target his false claim of

sexual assault against Bishop Jakes by stating, in sum and substance, that Bishop Jakes restrained

him and forcibly kissed him, as opposed to the first podcast interview where Youngblood alleges

that they embraced at the end of an hours long, wide ranging conversation about faith and life and

parents.

        70.     Due to Youngblood and his co-conspirators’ defamatory acts, Bishop Jakes has

suffered general and specific damages in amount to be established at trial.

        71.     On information and belief, Youngblood alleges that Defendants, and each of them,

have committed defamatory acts, and/or acts in furtherance of, against Bishop Jakes, as alleged

above, which were willful, intentional and malicious, which subjects Defendants, and each of

them, to liability.


                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Bishop T.D. Jakes respectfully requests that the Court award him

relief against Defendant Duane Youngblood as follows:

        72.     Actual and compensatory damages exceeding $75,000, as well as interest,

reasonable attorneys’ fees, and costs, as allowed by law;

        73.     Punitive damages, as allowed by law; and

        74.     Such other and further relief as the Court deems appropriate.




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                                   JURY TRIAL DEMAND

      Plaintiff demands trial by jury for all claims and issues that are so triable.

Date: November 25, 2024                      By /s/ Devin J. Chwastyk
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